Case 3:23-cv-01320-AMO   Document 71-8   Filed 11/07/24   Page 1 of 13




           Exhibit 4
            Case 3:23-cv-01320-AMO                          Document 71-8                  Filed 11/07/24              Page 2 of 13




                                                                                                                                            Exhibit 99.1




                                    UserTesting Reports First Quarter 2022 Financial Results
                                Record First Quarter Revenue of $45.9 million, up 47% year-over-year

San Francisco, May 4, 2022, UserTesting, Inc. (NYSE: USER), a leader in video-based human insight, today announced financial results for the first
quarter ended March 31, 2022.

“We posted strong first quarter results including record total revenue growing 47% year-over-year,” said Andy MacMillan, CEO of UserTesting.
“The demand for video-based human insights continues to be strong. We see a large opportunity for every company who delivers a customer
experience to leverage human insights.”

First Quarter 2022 Financial Highlights:

•Revenue: Total revenue was $45.9 million, up 47% year-over-year. Subscription revenue was $43.2 million, up 51% year-over-year. Excluding an
accounting adjustment relating to sales tax that resulted in a $1.3 million increase in subscription revenue in the first quarter, total revenue would
have been $44.6 million, up 43% year-over-year and subscription revenue would have been $41.9 million, up 46% year-over-year.
•Operating Loss and Margin: GAAP operating loss was $(15.0) million, or (33)% of total revenue, compared to $(12.2) million, or (39)% of total
revenue, in the same period last year. Non-GAAP operating loss was $(8.9) million, or (19)% of total revenue, compared to $(11.1) million, or (35)% of
total revenue, in the same period last year.
•Net Loss: GAAP net loss was $(15.2) million, or $(0.11) per share, compared to $(12.4) million, or $(0.69) per share, in the same period last year. Non-
GAAP net loss was $(9.0) million, or $(0.06) per share, compared to $(11.3) million, or $(0.62) per share, in the same period last year.
•Cash Flow: Net cash used in operations was $(15.5) million, compared to $(10.8) million in the same period last year. Free cash flow was $(15.8)
million, compared to $(11.3) million in the same period last year.
• Cash and Cash Equivalents: Cash and cash equivalents were $163.0 million as of March 31, 2022.

Recent Highlights:

•Recent new wins and growth deals included British Airways Corporation, Canada Post, DocuSign, FullStory, HP, Parkland Fuel, ServiceNow, Volvo
Cars, and WM.
•UserTesting named a leader by G2 in six categories, earned a Silver Stevie Award for Sales and Customer Service, and named an Atlanta Journal-
Constitution Top Workplace.
•UserTesting and FORTUNE Brand Studio surveyed 200 global CEOs to understand the role customer empathy plays in overall business success.
79% stated customer empathy fuels financial performance.
•Introduced new product templates that help companies better understand human interactions with connected devices and the Internet of Things
(IoT).
•Published the ninth annual 2022 CX Industry Report revealing a strong global demand for human insight to drive customer empathy and
understanding.
•UserTesting named Jeff Solomon as first Country Manager for UserTesting Canada.
             Case 3:23-cv-01320-AMO                                 Document 71-8                     Filed 11/07/24                   Page 3 of 13




Financial Outlook:

For the second quarter ending June 30, 2022, UserTesting currently expects:

•Total revenue between $46.5 million and $47.5 million.
•Non-GAAP operating margin between (30.0%) and (32.0%).
•Non-GAAP net loss per share of $(0.10) assuming 143.5 million weighted-average shares outstanding(1).

For the full year ending December 31, 2022, UserTesting currently expects:

•Total revenue between $197.0 million and $201.0 million.
•Non-GAAP operating margin between (27.0%) and (29.0%).
•Non-GAAP net loss per share between $(0.37) and $(0.39) assuming 145.0 million weighted-average shares outstanding(1).
____________
(1)
   Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then outstanding shares of
convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-average shares calculation weighted from the date
of the initial public offering.


The guidance provided above are forward-looking statements and actual results may differ materially. Refer to the “Forward-Looking Statements”
section below for information on the factors that could cause our actual results to differ materially from these forward-looking statements.

Non-GAAP gross profit, non-GAAP gross margin, non-GAAP operating loss, non-GAAP operating loss margin, non-GAAP net loss, non-GAAP
net loss per share, free cash flow and free cash flow margin are non-GAAP financial measures. Additional information on UserTesting’s reported
results, including a reconciliation of the non-GAAP financial measures to their most comparable GAAP measures, is included in the financial tables
below. Our definition for each non-GAAP measure used is provided below, however a limitation of non-GAAP financial measures is that they do not
have uniform definitions. Accordingly, our definitions for non-GAAP measures used will likely differ from similarly titled non-GAAP measures used
by other companies thereby limiting comparability. In addition, the utility of free cash flow as a measure of our liquidity is limited as it does not
represent the total increase or decrease in our cash and cash equivalents balance for a given period.

With regards to the non-GAAP guidance provided above, a reconciliation of non-GAAP guidance measures to corresponding GAAP measures is
not available on a forward-looking basis without unreasonable effort due to the uncertainty of expenses that may be incurred in the future,
although it is important to note that these factors could be material to UserTesting’s results computed in accordance with GAAP.

A supplemental financial presentation and other information can be accessed through UserTesting’s investor relations website at
https://ir.usertesting.com.

Lock-Up Release

Pursuant to the terms of the lock-up agreements entered into by the UserTesting’s directors, executive officers and its stockholders with the
underwriters of the UserTesting’s initial public offering, any remaining securities subject to lock-up restrictions under such agreements will have
such restrictions end immediately prior to the opening of trading on May 6, 2022.

The transfer agent and registrar for the UserTesting’s common stock is the American Stock Transfer & Trust Company, LLC.
            Case 3:23-cv-01320-AMO                         Document 71-8                 Filed 11/07/24              Page 4 of 13




UserTesting Conference Call

UserTesting will host a conference call today on May 4, 2022 to review its first quarter 2022 financial results and to discuss its financial outlook.
The call is scheduled to begin at 1:30pm Pacific Time (4:30pm Eastern Time). Investors are invited to join the webcast by visiting
https://ir.usertesting.com/news-events. The webcast will be available live, and a replay will be available following the completion of the live
broadcast for approximately 90 days.

About UserTesting

UserTesting (NYSE: USER) has fundamentally changed the way organizations get insights from customers with fast, opt-in feedback and
experience capture technology. The UserTesting® Human Insight Platform taps into our global network of real people and generates video-based
recorded experiences, so anyone in an organization can directly ask questions, hear what users say, see what they mean, and understand what it’s
actually like to be a customer. Unlike approaches that track user behavior then try to infer what that behavior means, UserTesting reduces
guesswork and brings customer experience data to life with human insight. UserTesting has approximately 2,500 customers, including more than
half of the world’s top 100 most valuable brands according to Forbes. UserTesting is headquartered in San Francisco, California. To learn more, visit
www.usertesting.com.

Forward-Looking Statements

This press release by UserTesting, Inc. (“UserTesting,” the “Company,” “we,” “us,” or similar terms) contains forward-looking statements. These
statements may relate to, but are not limited to, our financial outlook for the second quarter and full year 2022, expectations of future operating
results or financial performance, market size and growth opportunities, plans for future operations, competitive position, technological capabilities,
and strategic relationships, as well as assumptions relating to the foregoing. Forward-looking statements are inherently subject to risks and
uncertainties, some of which cannot be predicted or quantified. In some cases, you can identify forward-looking statements by terminology such as
“believe,” “may,” “will,” “potentially,” “estimate,” “continue,” “anticipate,” “intend,” “could,” “would,” “project,” “target,” “plan,” “expect,” and
similar expressions. You should not put undue reliance on any forward-looking statements. There are a significant number of factors that could
cause our actual results, performance, or achievement to differ materially and adversely from the statements made in this press release, including:
intense competition in our market; our ability to attract new customers and renew and expand sales to existing customers; our ability to effectively
introduce enhancements to our platform, including new products, services, features, and functionality, that achieve market acceptance or keep pace
with technological developments; quarterly fluctuations in operating results; our ability to maintain data privacy and data security; our limited
operating history under our current business and pricing models; our ability to effectively manage growth; and other general market, political,
economic, and business conditions, including those related to the continuing impact of COVID-19. For more information regarding the risks and
uncertainties that could cause actual results, performance, or achievement to differ materially and adversely from those expressed or implied in
these forward-looking statements, as well as risks relating to our business in general, we refer you to the “Risk Factors” section of our Securities
and Exchange Commission (the “SEC”) filings, including our Annual Report on Form 10-K for the year ended December 31, 2021 filed on March 4,
2022, our Quarterly Report on Form 10-Q to be filed for the quarter ended March 31, 2022, and other filings and reports that we may file from time to
time with the SEC, copies of which are available on our website at https://ir.usertesting.com and on the SEC’s website at www.sec.gov. You should
not rely on these forward-looking statements, as actual outcomes and results may differ materially from those contemplated by these forward-
looking statements as a result of such risks and uncertainties. All forward-looking statements in this press release are based on information
available to us as of the date hereof, and we do not assume any obligation to update the forward-looking statements provided to reflect events that
occur or circumstances that exist after the date of this press release or to reflect new information or the occurrence of unexpected events, except as
required by law. We may not actually achieve the plans, intentions, or expectations disclosed in our forward-looking statements, and you should
not place undue reliance on our forward-looking statements.
           Case 3:23-cv-01320-AMO                         Document 71-8                Filed 11/07/24             Page 5 of 13




Non-GAAP Financial Measures

To supplement our financial results, which are prepared and presented in accordance with GAAP, we use certain non-GAAP financial measures, as
described below, to understand and evaluate our core performance. These non-GAAP measures, which may be different than similarly-titled
measures used by other companies, are presented to enhance investors’ overall understanding of our financial performance and should not be
considered a substitute for, or superior to, the financial information prepared and presented in accordance with GAAP.

We believe that these non-GAAP financial measures provide useful information about our financial performance, enhance the overall
understanding of our past performance and future prospects, and allow for greater transparency with respect to important metrics used by our
management for financial and operational decision- making. We are presenting these non-GAAP measures to assist investors in seeing our financial
performance using a management view, and because we believe that these measures provide an additional tool for investors to use in comparing
our core financial performance over multiple periods with other companies in our industry. You should consider non-GAAP results alongside other
financial performance measures and results presented in accordance with GAAP. In addition, in evaluating non-GAAP results, you should be aware
that in the future we will incur expenses such as those that are the subject of adjustments in deriving non-GAAP results and you should not infer
from our non-GAAP results that our future results will not be affected by these expenses or any unusual or non-recurring items.
Non-GAAP gross profit, non-GAAP operating loss, non-GAAP net loss, non-GAAP net loss per share: We define these non-GAAP financial
measures as the respective GAAP measures, excluding stock-based compensation expenses, amortization of acquired intangible assets, reversals of
prior sales and use tax accruals and related penalties and interest, and the tax impact of the non-GAAP adjustments. We believe it is useful to
exclude these expenses in order to better understand the long-term performance of our core business and to facilitate comparison of our results to
those of peer companies and over multiple periods.

Non-GAAP gross margin and non-GAAP operating loss margin: Non-GAAP gross margin is calculated as non-GAAP gross profit divided by total
revenue. Non-GAAP operating loss margin is calculated as non-GAAP operating loss divided by total revenue. We use these non-GAAP financial
measures in conjunction with traditional GAAP measures to evaluate our financial performance.

Free cash flow and free cash flow margin: We define free cash flow as net cash used in operating activities less cash used for purchases of
property and equipment and capitalized internal-used software. Free cash flow margin is calculated as free cash flow divided by total revenue. We
believe that these non-GAAP financial measures are useful indicators of liquidity that provides information to management and investors, even if
negative, about the amount of cash generated (or used) in our operations that, after investments in property and equipment, can be used for
strategic opportunities and strengthening our balance sheet.

Non-GAAP Supplemental Financial Information

Calculated Billings: We define calculated billings, a non-GAAP financial measure, as total revenue plus the change in contract liabilities from the
beginning to the end of the period. We typically invoice our customers annually in advance, and to a lesser extent quarterly in advance, for
subscriptions to our platform. Calculated billings in any particular period reflect amounts invoiced to customers.
             Case 3:23-cv-01320-AMO                                 Document 71-8                     Filed 11/07/24                   Page 6 of 13




                                                                      UserTesting, Inc.
                                                        Condensed Consolidated Statements of Operations
                                                           (in thousands, except per share amounts)
                                                                          (unaudited)

                                                                                                                                  Three Months Ended March 31,
                                                                                                                                   2022                2021
Revenue
   Subscription                                                                                                            $               43,213 $                  28,682
   Professional services                                                                                                                    2,639                     2,508
      Total revenue                                                                                                                        45,852                    31,190
Cost of revenue
   Subscription                                                                                                                             7,617                     6,617
   Professional services                                                                                                                    2,182                     2,085
      Total cost of revenue                                                                                                                 9,799                     8,702
Gross profit                                                                                                                               36,053                    22,488
Operating expenses:
   Sales and marketing                                                                                                                     30,069                    18,593
   Research and development                                                                                                                11,080                     9,769
   General and administrative                                                                                                               9,945                     6,351
      Total operating expenses                                                                                                             51,094                    34,713
Loss from operations                                                                                                                     (15,041)                  (12,225)
Interest income, net                                                                                                                           12                        40
Other expense, net                                                                                                                           (80)                     (152)
  Loss before provision for income taxes                                                                                                 (15,109)                  (12,337)
  Provision for income taxes                                                                                                                   94                       109
Net loss                                                                                                                   $             (15,203) $                (12,446)
Net loss per share attributable to common stockholders, basic and diluted(1)                                               $                (0.11) $                  (0.69)
Weighted-average shares used in computing net loss per share attributable to common stockholders,
basic and diluted(1)                                                                                                                      142,487                    18,088


(1)
   Includes the impact of (i) the issuance of shares of common stock by UserTesting in its initial public offering, and (ii) the conversion of all then outstanding shares of
convertible preferred stock into shares of common stock in connection with the initial public offering, in the weighted-average shares calculation weighted from the date
of the initial public offering.
           Case 3:23-cv-01320-AMO                         Document 71-8                Filed 11/07/24             Page 7 of 13




Stock-based Compensation Expense

The following table summarizes total stock-based compensation expense included in cost of revenue and operating expenses (in thousands):

                                                                                                              Three Months Ended March 31,
                                                                                                               2022                2021
Cost of revenue:
  Subscription                                                                                          $                125 $                   8
  Professional services                                                                                                  184                    36
Operating expenses:
  Sales and marketing                                                                                                  2,664                   300
  Research and development                                                                                             1,306                   161
  General and administrative                                                                                           2,998                   403
                                                                                                        $              7,277 $                 908


Amortization of Intangible Assets

The following table summarizes total amortization of acquired intangible assets included in cost of revenue and operating expenses (in thousands):

                                                                                                              Three Months Ended March 31,
                                                                                                               2022                2021
Cost of revenue:
  Subscription                                                                                          $                 21 $                 162
Operating expenses:
  Sales and marketing                                                                                                      -                    48
  Research and development                                                                                                43                    41
                                                                                                        $                 64 $                 251
            Case 3:23-cv-01320-AMO                           Document 71-8        Filed 11/07/24       Page 8 of 13




                                                              UserTesting, Inc.
                                                    Condensed Consolidated Balance Sheets
                                                               (in thousands)
                                                                 (unaudited)

                                                                                                   March 31,          December 31,
                                                                                                     2022                 2021
Assets
Current assets:
   Cash and cash equivalents                                                                $            163,018 $            178,430
   Accounts receivable, net                                                                               46,167               47,973
   Costs capitalized to obtain revenue contracts, current                                                  8,380                8,116
   Prepaid expenses and other current assets                                                              11,202                6,045
      Total current assets                                                                               228,767              240,564
Property and equipment, net                                                                                3,167                3,257
Operating lease right-of-use assets, net                                                                  15,117               16,401
Intangible assets, net                                                                                       576                  640
Goodwill                                                                                                   8,785                8,785
Costs capitalized to obtain revenue contracts, non-current                                                13,012               12,941
Other long-term assets                                                                                       873                  540
      Total assets                                                                          $            270,297 $            283,128
Liabilities and Stockholders’ Equity
Current liabilities:
   Accounts payable                                                                         $              2,154 $              1,544
   Contract liabilities                                                                                   94,720               90,952
   Operating lease liabilities, current                                                                    5,315                5,271
   Accrued expenses and other current liabilities                                                         13,286               21,799
      Total current liabilities                                                                          115,475              119,566
Operating lease liabilities, non-current                                                                  11,658               12,996
Other long-term liabilities                                                                                  887                  887
      Total liabilities                                                                                  128,020              133,449
Stockholders’ equity:
     Preferred stock                                                                                            -                   -
     Common stock and capital in excess of par value                                                      360,682             352,881
   Accumulated deficit                                                                                  (218,405)           (203,202)
      Total stockholders’ equity                                                                          142,277             149,679
Total liabilities and stockholders’ equity                                                  $             270,297 $           283,128
           Case 3:23-cv-01320-AMO                       Document 71-8             Filed 11/07/24       Page 9 of 13




                                                            UserTesting, Inc.
                                              Condensed Consolidated Statements of Cash Flows
                                                              (in thousands)
                                                                (unaudited)
                                                                                                    Three Months Ended March 31,
                                                                                                     2022                2021
Cash flows from operating activities:
Net loss                                                                                        $        (15,203) $           (12,446)
Adjustments to reconcile net loss to net cash used in operating activities:
  Depreciation and amortization                                                                               365                    373
  Stock-based compensation expense                                                                          7,277                    908
  Provision for allowance for doubtful accounts                                                               120                     31
  Amortization of costs capitalized to obtain revenue contracts                                             2,183                  1,393
  Changes in operating assets and liabilities:
      Accounts receivable                                                                                   1,686                  261
      Costs capitalized to obtain revenue contracts                                                       (2,518)              (2,471)
      Prepaid expenses and other assets                                                                   (5,490)              (2,524)
      Accounts payable                                                                                        609                  578
      Accrued liabilities                                                                                 (8,382)              (2,580)
      Contract liabilities                                                                                  3,768                5,027
      Other liabilities                                                                                        76                  615
         Net cash used in operating activities                                                           (15,509)             (10,835)
Cash flows from investing activities:
  Purchase of property and equipment                                                                        (325)                  (436)
  Purchase of intangible assets                                                                                 -                  (150)
         Net cash used in investing activities                                                              (325)                  (586)
Cash flows from financing activities:
     Payment of offering costs                                                                              (102)              (1,088)
     Payment of deferred purchase consideration                                                                 -              (1,766)
     Proceeds from issuance of common stock upon exercise of stock options                                    524                  479
         Net cash provided by (used in) financing activities                                                  422              (2,375)
Net decrease in cash and cash equivalents                                                                (15,412)             (13,796)
Cash and cash equivalents, beginning of period                                                            178,430               96,972
Cash and cash equivalents, end of period                                                        $         163,018 $             83,176
           Case 3:23-cv-01320-AMO                           Document 71-8                         Filed 11/07/24                  Page 10 of 13




                                                                UserTesting, Inc.
                                       Reconciliation of GAAP to Non-GAAP Gross Profit and Gross Margin
                                                             (dollars in thousands)
                                                                   (unaudited)
                                                      Three Months Ended March 31, 2022                                 Three Months Ended March 31, 2021
                                                                Professional                                                      Professional
                                           Subscription           Services                Total              Subscription           Services                Total
GAAP gross profit                      $         35,596  $                457  $            36,053  $              22,065  $                423  $            22,488
GAAP gross margin                                    82%                   17%                  79%                    77%                   17%                  72%
Adjustments:
   Stock-based compensation expense                 125                   184                  309                      8                    36                   44
   Amortization of intangible assets                 21                     -                   21                    162                     -                  162
Non-GAAP gross profit                  $         35,742     $             641     $         36,383       $         22,235     $             459     $         22,694
Non-GAAP gross margin                                 83%                  24%                     79%                  78%                  18%                    73%
            Case 3:23-cv-01320-AMO                                    Document 71-8                  Filed 11/07/24                  Page 11 of 13




                                                                        UserTesting, Inc.
                                                   Reconciliation of GAAP to Non-GAAP Operating Expenses
                                                                      (dollars in thousands)
                                                                            (unaudited)
                                                                                                          Three Months Ended March 31, 2022
                                                                                                         Research and              General and           Total Operating
                                                                               Sales and Marketing       Development              Administrative            Expenses
GAAP expenses                                                              $              30,069     $          11,080        $             9,945    $            51,094
Adjustments:
     Stock-based compensation expense                                                    (2,664)                (1,306)                   (2,998)                (6,968)
     Amortization of intangible assets                                                         -                   (43)                         -                   (43)
     Reversal of sales and use tax accruals, penalties and interest                            -                      -                     1,157                  1,157
  Non-GAAP expenses                                                        $             27,405      $            9,731       $             8,104    $           45,240
  Non-GAAP expenses as a % of revenue                                                         60%                       21%                    18%                     99%


                                                                                                          Three Months Ended March 31, 2021
                                                                                                         Research and              General and           Total Operating
                                                                               Sales and Marketing       Development              Administrative            Expenses
GAAP expenses                                                              $              18,593     $            9,769       $             6,351    $            34,713
Adjustments:
     Stock-based compensation expense                                                      (300)                  (161)                     (403)                  (864)
     Amortization of intangible assets                                                      (48)                   (41)                         -                   (89)
  Non-GAAP expenses                                                        $              18,245     $            9,567       $             5,948    $            33,760
  Non-GAAP expenses as a % of revenue                                                         58%                       31%                    19%                   108%
          Case 3:23-cv-01320-AMO                         Document 71-8           Filed 11/07/24             Page 12 of 13




                                                             UserTesting, Inc.
                               Reconciliation of GAAP to Non-GAAP Operating Loss and Operating Loss Margin
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                                                                       Three Months Ended March 31,
                                                                                                        2022                 2021
GAAP operating loss                                                                            $            (15,041)  $           (12,225)
GAAP operating loss margin                                                                                      (33)%                 (39)%
Adjustments:
  Stock-based compensation expense                                                                             7,277                   908
  Amortization of intangible assets                                                                               64                   251
    Reversal of sales and use tax accruals, penalties and interest                                           (1,157)                     -
Non-GAAP operating loss                                                                        $             (8,857)      $       (11,066)
Non-GAAP operating loss margin                                                                                  (19)%                 (35)%


                                                                UserTesting, Inc.
                                     Reconciliation of GAAP to Non-GAAP Net Loss and Net Loss Per Share
                                                     (in thousands, except per share amounts)
                                                                    (unaudited)

                                                                                                          Three Months Ended March 31,
                                                                                                           2022                2021
GAAP net loss                                                                                      $           (15,203) $           (12,446)
Adjustments:
  Stock-based compensation expense                                                                                7,277                  908
  Amortization of intangible assets                                                                                  64                  251
    Reversal of sales and use tax accruals, penalties and interest                                              (1,157)                    -
Non-GAAP net loss                                                                                  $            (9,019) $           (11,287)

GAAP net loss per share, basic and diluted                                                         $              (0.11) $               (0.69)
Adjustments to GAAP net loss per share:
  Stock-based compensation expense                                                                                 0.06                    0.06
  Amortization of intangible assets                                                                                   -                    0.01
  Reversal of sales and use tax accruals, penalties and interest                                                 (0.01)                       -
  Non-GAAP net loss per share, basic and diluted                                                   $             (0.06) $                (0.62)
  Weighted-average shares used in computing non-GAAP net loss per share, basic and diluted                      142,487               18,088
           Case 3:23-cv-01320-AMO                      Document 71-8              Filed 11/07/24       Page 13 of 13




                                                            UserTesting, Inc.
                                                   Non-GAAP Free Cash Flow Reconciliation
                                                          (dollars in thousands)
                                                                (unaudited)
                                                                                                   Three Months Ended March 31,
                                                                                                    2022                 2021
GAAP net cash used in operating activities                                                     $       (15,509)    $        (10,835)
Add: Purchases of property and equipment                                                                  (325)                (436)
Non-GAAP free cash flow                                                                        $       (15,834)    $        (11,271)
Non-GAAP free cash flow margin                                                                             (35)%                  (36)%



                                                             UserTesting, Inc.
                                                 Non-GAAP Supplemental Financial Information
                                                           (dollars in thousands)
                                                                 (unaudited)
                                                                                                   Three Months Ended March 31,
                                                                                                    2022                 2021
Revenue                                                                                        $        45,852     $          31,190
Increase in contract liabilities                                                                         3,768                 5,027
Calculated billings                                                                            $        49,620     $          36,217
Year-over-year calculated billings growth rate                                                              37%                    38%


Investor Relations Contact:
Erica Mannion and Michael Funari
Sapphire Investor Relations, LLC
ir@usertesting.com
617-542-6180
Media Contact:
UserTesting, Inc.
Chris Halcon
chalcon@usertesting.com
415-699-0553
